©\\ Case 2:05-cv-02406-BBD-dkv Document 29 Filed 08/23/05 PagelofS Page|D 17
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IN THE UNITED STATES DISTRICT COURT

wEsTERN DISTRICT oF TENNESSEE ZBUS AUG 22 PH 3= 50

 

  

WESTERN DIVISION
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, CLERK, U§_. iji? w "n`t‘,\;E-;JHL
JAMES SULLIVAN, :IID O:- TT-" ;l¥:i:ir :`§D

Plaintiff

VS. Cause No.: 05-2406-DV
BOYD GAMING CORPORATION

d/b/a SAM’S TOWN CASINO TUNICAH,
MISSISSIPPI GAMING COMMISSION,

C`)
WILLIAM ANDERSON, individually and §§ §
in his capacity as Sam’s Town Employee, §§
PAT HAWKINS, individually and in his ;.f

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capacity as a Mississippi Gaming Official,

TT:§K
and FAYE PERKINS, §<_~_»,§
m
Defendants.

 

MoTIoN To FILE A REBUTIAL To PLAINTIFF’s REsPoNsE To BOYD
GAMING coRPoRATIoN’s RULE 12(b)(2)M0T10N To DISMISS FoR LACK oF
PERsoNAL JURIsmCTIoN RULE 12(b)(3) MoTIoN To DIless FoR IMPRoPER
vENUE 011 IN THE ALTERNATIVE MoTIoN To TRANSFER PURSUANT To
TITLE 23 U.s.c. §1404(a)

COMES NOW, Defendant, Boyd Gaming Corporation (“Boyd”), and moves this Court
for an order to allow Boyd to submit a rebuttal to the Plaintiff"s Responso to Boyd’s Rule
12(b)(2) Motion to Dismiss for Lack of Personal Jurisdiction Rule, lZ(b)(B) Motion to Dismiss
for Improper Venue or in the Alternative Motion to Transfer Pursuant to Title 28 U.S.C.

§1404(a).

. . »¢£L T cument entered on the docket co
Respectfully submltted, thls 1 n day of Augusth(:)§§[e 58 and/er 79{&) FRCF on

Melanie N. Beckham, Attorney for
Defendant, Boyd Gaming Corporation

   
 
    

   
 

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Case 2:05-cv-02406-BBD-dkv Document 29 Filed 08/23/05 Page 2 of 3 Page|D 18

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CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing document has been served upon the
following counsel of reeord, by hand delivering a copy thereof, on this Z‘Y"b'day of August,
2005:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:05-CV-02406 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

